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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

                                                     )
 COMMISSIONING AGENTS, INC.,                         )
                                                     )
               Plaintiff,                            )
                                                     )
 v.                                                  )
                                                     )
 ROBERT G. LONG, Individually;                       )
                                                     )
 HUGH GENERAL MANAGEMENT, LLC,                       )
                                                           Civil Action No. 1:15-cv-62-TWP-
 d/b/a HUGHCX d/b/a HUGHGM;                          )
                                                                         DKL
                                                     )
 HUGHCX, LLC, d/b/a HUGHGM d/b/a                     )
 HUGH GENERAL MANAGEMENT; and                        )
                                                     )
 MISSION CRITICAL COMMISSIONING, LLC                 )
 d/b/a HUGHGM d/b/a HUGHCX                           )
 d/b/a HUGH GENERAL MANAGEMENT,                      )
                                                     )
               Defendants.                           )
                                                     )

             PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES,
                    INJUNCTIVE RELIEF, AND JURY DEMAND

        Plaintiff, Commissioning Agents, Inc. (“CAI”), by counsel, and for its First Amended

 Complaint for Damages, Injunctive Relief, and Jury Demand against Defendants, Robert G.

 Long (“Long”), Hugh General Management, LLC (“HughGM”), HughCx, LLC (“HughCx”),

 and Mission Critical Commissioning, LLC (“MCC”), alleges and states as follows:

                                       I.   Introduction

        1.     Defendant Long lied to, defrauded, and stole from CAI, his employer, for the

 benefit of himself and CAI’s competitors. While creating the impression of working for CAI

 through false timesheets and expense reports, Long was secretly an employee or a principal of
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 several of CAI’s competitors. Long spent time that should have been devoted to advancing

 CAI’s interests to advancing the interests of a competitor, HughGM, of which Long was a part

 owner and principal. Long stole CAI’s confidential and proprietary materials, funneled them to

 HughGM, and exploited CAI’s property and proprietary information to divert corporate

 opportunities from CAI and to pitch work for HughGM and to perform HughGM work. Upon

 information and belief, Long’s HughGM partners knew about, approved, and encouraged his

 actions and knowingly received the benefits of Long’s lies, fraud, and theft.

        2.      CAI terminated Long immediately upon discovering his fraudulent, illegal

 schemes. CAI now files this action to stop Long and HughGM from illegally using CAI

 proprietary materials and to seek redress for the harm it has suffered.

                              II.    Parties, Jurisdiction, and Venue

        3.      Paragraphs 1-2 are incorporated herein by reference.

        4.      CAI is an Indiana corporation with its principal place of business in Marion

 County, Indiana.

        5.      Long is an individual and a resident of King County, Washington.

        6.      Until August 2014, Long was a regular employee of CAI.

        7.      HughGM is a Washington (state) limited liability company (“LLC”) with its

 principal place of business in King County, Washington.

        8.      HughGM is registered with the Washington Secretary of State, under this address:

 601 Union Street, #4200, Seattle, WA 98101. HughGM was formed and first registered on

 March 21, 2006. Its registered agent is George H. Amburn, Jr. (“Amburn”), an individual and

 resident of King County, Washington.

        9.      HughCx is a Washington (state) LLC with its principal place of business in King

 County, Washington.
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        10.     HughCx is registered with the Washington Secretary of State, under the same

 address as HughGM. Its registered agent is HughGM. It was first registered on October 1, 2014.

        11.     Upon information and belief, HughCx was created very recently (shortly after

 Defendant Long learned that Plaintiff CAI had discovered the illegal conduct described below)

 in an attempt (A) to create confusion between itself and HughGM, and (B) to shield its registered

 agent, HughGM, and HughGM’s principals and shareholders, from liability to CAI for claims

 arising from the events described in this Complaint.

        12.     Throughout the relevant time period set forth below, HughGM and its authorized

 agents referred to HughGM as both “HughGM” and “HughCx,” simultaneously and

 interchangeably. Upon information and belief, CAI understands the actions described below to

 be primarily attributable to HughGM, regardless of what name it may use. For this reason, and

 because of the confusion of these corporate identities, this Complaint henceforth refers to both

 entities collectively as “HughGM.” All references below to HughGM apply equally to HughCx.

        13.     Long is a principal and shareholder of HughGM.

        14.     Amburn is a principal and shareholder of HughGM.

        15.     MCC is a Nevada LLC with no discernible principal place of business.

        16.     MCC is registered with the Nevada Secretary of State, with no office address

 listed. Its entry on the Secretary of State’s website indicates that its registered agent is Corp 95,

 LLC (“Corp 95”), located at 2620 Regatta Drive, Suite 102, Las Vegas, Nevada, 89128, and that

 it has an “officer” listed as Pyramid Management, LLC (“Pyramid”), located at 32565B Golden

 Lantern Street, Suite 140, Dana Point, California, 92629. Its “file date” is February 8, 2012. See

 Exhibit 1.




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        17.     Upon information and belief, Corp 95 has no genuine role within MCC, and is

 simply a service that specializes in helping individuals form Nevada corporations anonymously.

 See Exhibit 2 (Corp 95 website excerpts: “You can form a Nevada LLC or corporation and set

 up banking without actually going to Nevada . . . . Anonymous entity where your name is not on

 any public document!”) (emphasis in original). Upon information and belief, Pyramid similarly

 has no genuine role within MCC, and is simply a Nevada shell corporation that Corp 95 has

 listed as an “officer” of MCC and of several other anonymously run companies that it has helped

 to register. See Exhibit 3 (CorporationWiki website entry for search of Pyramid, illustrating its

 connection to other companies: http://www.corporationwiki.com/p/2bsajj/pyramid-management-

 llc); Exhibit 4 (Nevada Secretary of State entries for same corporations, all with Corp 95 as

 registered agent and Pyramid as officer).

        18.     Upon information and belief, MCC has done little or no business in Nevada, and

 Long attempted to use Nevada’s unique corporate laws to hide his involvement in MCC and to

 shield himself from liability for the acts described below.        See Exhibit 5 (Long email

 correspondence with Corp 95: “I would like to keep my name off public records”) (credit card

 information redacted to protect Long’s personal financial information).

        19.     Upon information and belief, MCC at some point ceased operations and became

 absorbed into and subsumed by HughGM via a merger, acquisition, or some other means.

 Again, upon information and belief, CAI understands the actions described below to be primarily

 attributable to HughGM, but does not know what role, if any, MCC may have played in these

 actions. This is especially so given Long’s efforts to conceal his involvement in MCC and to

 create confusion as to its existence, status, and role within HughGM. Accordingly: (A) CAI

 names MCC as a Defendant here, and is entitled to discovery to determine the nature of that role;



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 and (B) this Complaint henceforth considers MCC to be a part of HughGM, and all below

 references to and allegations of HughGM’s unlawful or tortious conduct apply equally to MCC.

        20.     CAI originally filed this action in Marion County (Indiana) Circuit/Superior

 Court. Defendants Long and MCC then removed this action to this Court. Dkt. No. 1. Without

 expressing any opinion on the truth or accuracy of the contents of Defendants’ Jurisdictional

 Statement (Dkt. No. 24), CAI consents to federal subject matter jurisdiction.

        21.     Venue in this Court is proper under 28 U.S.C. § 1391, and personal jurisdiction is

 proper in this Court under the Indiana Trial Rules and the United States Constitution, for the

 following independent reasons: (a) a substantial part of the property that is the subject of the

 action is situated in (and/or taken by Defendants from) Marion County, Indiana; (b) a substantial

 part of the events giving rise to the claim occurred in Marion County, Indiana; (c) Defendants

 intentionally directed activity to Marion County, Indiana; (d) Defendants’ relationships, dealings,

 and/or contacts with Indiana residents and corporations create proper venue and personal

 jurisdiction in this Court; and/or (e) the laws of the United States otherwise provide for personal

 jurisdiction and venue in this Court.

                                    III.   Factual Background

        22.     Paragraphs 1-21 are incorporated herein by reference.

        23.     CAI is in the business of providing commissioning services (“Commissioning

 Services”) for firms that have a need for such services (“Clients”). Commissioning Services are

 consulting, engineering, and design services that ensure that a building or similar facility is

 constructed to fit its intended purpose and that it operates accordingly. See Exhibit 6.

        24.     Like CAI, HughGM is (and MCC was) in the business of providing

 Commissioning Services for corporate Clients.



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        25.     The commissioning industry bears some similarity to the construction industry.

 Clients will put a project up for bid, sending out “requests for proposals” (“RFPs”) to certain

 qualified commissioning firms. Those firms will prepare a detailed proposal. Clients award the

 business to the commissioning firm most suited to perform the work required, based on the

 pricing information and technical ability manifest in that firm’s proposal. The commissioning

 firm hired to do the work will then be responsible for ensuring that the work is completed in full,

 according to project specifications, and on time. Because of the similarities and necessary

 integration between Commissioning Services and construction services, commissioning firms

 and construction firms will sometimes partner with one another to prepare a joint proposal.

        26.     Commissioning Clients usually do not advertise publicly when they have a need

 for Commissioning Services. Instead, a Client typically announces these needs only to those

 firms with whom it has a prior relationship, or who have a strong reputation for quality work.

 Commissioning firms therefore invest ample resources in cultivating strong relationships with

 prospective Clients and in building a strong reputation through consistent, excellent work.

 A.     Long Begins Employment with CAI.

        27.     Long completed a CAI employment application on or about November 8, 2012.

 See Exhibit 7. Upon information and belief, Long’s application contained numerous falsified

 letters of recommendation and material false representations regarding issues such as his skills,

 experience, employment history, and criminal history. Among other such misrepresentations,

 the application asserted that Long’s only employment since 2001 was through a sole

 proprietorship called ELW LLP—while, as explained below, he held numerous commissioning

 positions with other firms (including his apparent additional sole proprietorship, MCC) in this

 time period and at the time of application. This misrepresentation prevented CAI from running a



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 check of past and current employment, the results of which would have caused CAI to reject his

 application. Long’s application further included an explanation of a past criminal charge which

 contained many representations which, upon information and belief, were false and/or

 misleading. For example, it explained that a purchase of the drug human growth hormone from

 overseas was due to a one-time sports injury that briefly clouded his judgment, from which he

 had “learned [his] lesson”; however, files and emails stored in his CAI computer strongly

 suggest that Long continued to purchase and abuse anabolic steroids and similar illicit substances

 during his employment at CAI. Despite these and other misrepresentations, Long signed his

 employment application, explicitly certifying that the contents were true, correct, and complete.

        28.     Relying on the contents of his application, CAI extended a formal employment

 offer to Long on or about December 6, 2012. By the offer’s terms, CAI would provide: (1)

 compensation of $39 per hour, plus overtime, which together provided an opportunity for Long

 to earn over $100,000 per year, depending on the number of hours he worked; (2) reimbursement

 of expenses incurred pursuant to travel that CAI might require for CAI work; and (3) other

 benefits such as paid vacation, medical insurance, company-funded retirement contributions, and

 a 401(k) savings plan. See Exhibit 8.

        29.     Long accepted CAI’s employment offer, and began his employment at CAI on or

 about December 10, 2012.

        30.     Upon beginning employment, Long signed an employment agreement

 (“Employment Agreement”) with CAI. See Exhibit 9. It read in part:


                Confidential Information[:] I am aware that during the course of my
                employment confidential information will be made available to me, for instance,
                product designs, employee/employment information, wage and salary data,
                marketing strategies, customer and employee lists, pricing policies and other
                related information. I understand that this information is proprietary and critical

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                 to the success of [CAI] and must not be given out or used outside of [CAI]’s
                 premises or with non-[CAI] employees. In the event of termination of
                 employment, whether voluntary or involuntary, I hereby agree not to utilize or
                 exploit this information with any other individual or company.


        31.      Per discussions between CAI and Long, Long was to work full-time for CAI, and

 base his operations on behalf of CAI in the greater Seattle area (where he already lived). His

 work would cover commissioning projects located in the Pacific Northwest and Silicon Valley

 regions of the United States. These were regions in which CAI already had some commissioning

 business, but wished to grow its presence. Long was hired to effectuate that growth and to

 service CAI’s existing Clients, including specifically to help win and service Microsoft as a

 major client.

 B.     Long Seeks and Obtains Employment with or Ownership in Other Companies.

        32.      Upon information and belief, Long became a shareholder and principal of

 HughGM at some point before the beginning of his employment at CAI. Thereafter, Long was

 given a HughGM email address, and his picture, name, and title appeared under the heading

 “Our Principals” on the “About” page of HughGM’s website. See Exhibit 10. For these and

 other reasons, Long had actual and apparent authority to act on behalf of and to bind HughGM.

 Accordingly, Plaintiff hereby alleges that the actions of Defendant Long described below were

 taken both in his individual capacity and in his capacity as a principal of HughGM, and that they

 were taken only to advance Long’s personal interests and the interests of HughGM, and not those

 of CAI.

        33.      Upon information and belief, when Long became a shareholder and principal of

 HughGM, one or both of two other companies owned by Long, ELW LLP and Defendant MCC

 (the “Predecessor Entities”), ceased operations and became absorbed into and subsumed by



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 HughGM via a merger, acquisition, or some other means.                After diligent search and

 investigation, Plaintiff cannot find any public record of ELW LLP as a presently active business

 entity. Although (as discussed above) MCC is registered as an active Nevada corporation, upon

 information and belief MCC no longer conducts any operations and has been wholly subsumed

 by HughGM.

        34.     Upon information and belief, Long had associated and conducted business with

 HughGM and its agents (such as Amburn and Robert Evans), and was given authority to act on

 behalf of HughGM—in his individual capacity and in his capacity as a principal of one of the

 Predecessor Entities—long before officially becoming a principal of HughGM, and before

 beginning employment at CAI. Upon information and belief, Long is the sole principal and

 owner of MCC (to the extent it still exists) and was so before beginning employment at CAI, and

 thus at all times has had authority to act on behalf of MCC. This conduct and authority

 (pertaining to both HughGM and MCC) also has continued beyond Long’s termination from

 CAI.    The actions alleged below therefore include but also precede and outlast Long’s

 employment at CAI.

        35.     Long sought and obtained employment with CAI for two purposes: (1) to enrich

 himself by collecting wages from CAI; and (2) to use CAI’s proprietary information—including

 but not limited to CAI trade secrets, work product, proposals, processes, reports, designs,

 specifications, employee lists, pricing policies, Client RFPs, Client contact information, Clients’

 confidential information, knowledge of upcoming business opportunities, and other physical

 materials and intellectual property (collectively, the “Proprietary Materials”)—in an effort to

 divert business away from CAI and to HughGM or the Predecessor Entities.




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         36.     Such was Long’s modus opperandi—upon information and belief, during his

  employment at CAI, Long was employed by at least four other commissioning companies, not

  including HughGM and the Predecessor Entities, and was hired as a consultant by yet two other

  commissioning firms. All of these firms are direct and/or indirect competitors of CAI.

         37.     At no point prior to terminating Long in August 2014 did CAI have any

  knowledge of or reason to know of Long’s involvement with these other entities.              CAI

  understood—and Long knew that CAI understood, and purposefully caused CAI to believe—that

  CAI was Long’s exclusive employer, and that Long’s work in the field of commissioning was

  strictly limited to his work for CAI.

         38.     Long collected these multiple salaries to support his lavish lifestyle, which upon

  information and belief included expenses such as a house worth nearly $1 million, international

  vacations, a personal trainer, and a regimen of internet-purchased exotic foods and recreational

  substances, such as human growth hormone and anabolic steroids.

  C.     Long Steals Business Opportunities from CAI.

         39.     Shortly after joining CAI and throughout his tenure there, Long (in his capacity as

  a principal of HughGM) pursued business opportunities for HughGM that he learned about

  solely by virtue of his employment with CAI. As a CAI employee, Long had access to CAI’s

  Proprietary Materials, and used them to learn about and pursue project opportunities and other

  Client business for himself and HughGM, about which neither Long nor HughGM would have

  known, but for Long’s access to the Proprietary Materials. These included, but were not limited

  to, Clients and projects where Long knew that CAI already had an established contractual or

  similar business relationship. He used this information in this way despite his promise in the

  Employment Agreement that he would not do so.



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          40.     Throughout his tenure at CAI, Long also learned of other such opportunities by

  conducting extensive research and leveraging personal contacts. CAI hired Long to do exactly

  this work, in order to find new opportunities for CAI and to grow CAI’s business. However,

  instead of informing his CAI superiors about these opportunities and pursuing them for CAI,

  Long pursued the opportunities exclusively for HughGM. For the vast majority of these project

  opportunities, CAI (A) had the capacity to perform and earn substantial revenue from the work,

  and (B) knew of the opportunity and had active interest, or would have had active interest if it

  had known about the opportunity. Long knew or should have known about CAI’s active and

  potential interest in, and ability to capitalize on, these opportunities.

          41.     Even in the few instances where Long actually informed his CAI superiors of

  such opportunities (which CAI pursued, or communicated to Long that it had interest in

  pursuing), Long and HughGM pursued the same opportunities, in direct competition with CAI.

  In no instance did Long request CAI’s permission to pursue such opportunities for non-CAI

  purposes, and such permission would not have been granted.

  D.      Long Misappropriates CAI Proprietary Materials for Personal Gain.

          42.     In addition to using CAI’s Proprietary Materials to learn about and steal business

  opportunities, Long regularly misappropriated CAI Proprietary Materials and used them as part

  of HughGM’s actual bids and project work. He did so in several ways. For example, Long

  regularly disseminated this information to his partners at HughGM, and to other entities in the

  commissioning marketplace. In the latter instance, Long passed off the material as having been

  created by HughGM. Long’s purpose was to give a competitive edge to HughGM by using

  CAI’s work product, contacts, reputation, and goodwill, into which CAI had invested significant




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  resources.   As above, Long used the Proprietary Materials despite his promise in the

  Employment Agreement that he would not do so.

         43.    For example, in several instances, at Long’s direction, HughGM submitted to

  prospective Clients detailed proposals for Commissioning Services that were near-verbatim

  proposals that CAI had submitted for similar projects. Indeed, the only apparent changes that

  Long or HughGM made to the CAI proposals were changes to the Client name and replacing the

  CAI logo with a HughGM logo (which he occasionally forgot to do). In one such instance, on a

  large and lucrative project for a Fortune 100 Client that would have been ideal business for CAI,

  Long’s misappropriated CAI proposal won the project for HughGM.

         44.    In addition, upon information and belief, Long has included items in his personal

  resume that are in fact experience elements of other CAI employees performed for current CAI

  customers, and Long wholly fabricated a letter of recommendation from CAI (dating from

  months before his employment at CAI began, when Long did no work whatsoever with CAI; it

  contained the name of a fairly junior CAI employee who resided in the United Kingdom, yet had

  a Seattle phone number not known to CAI) and has used the letter to attempt to induce

  prospective Clients to hire HughGM. See Exhibit 11; compare, e.g., Exhibit 12 at 2-4 (resume of

  CAI project manager Nathan Temple; bullet points under heading “Genentech S. San Francisco,

  CA,” and “Training” bullets beginning with “ISPE-”) with Exhibit 13 at 2, 4 (Long resume

  stored on Long’s CAI laptop; near-verbatim bullet points under heading “Genentech (Life

  Science)” and similar “ISPE-” bullets under “TRAINING” heading; upon information and belief,

  Long has no ISPE training).

         45.    Beyond making false representations to innocent and unsuspecting prospective

  Clients, Long sent emails attaching CAI Proprietary Materials to HughGM and/or contacts in the



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  commissioning and construction industries, often indicating that he had illicitly obtained the

  material.    In these many instances, Long conveyed the material while stating that it was

  “CONFIDENTIAL INFORMATION” (capitals often included), and warning the recipients not

  to disseminate the materials publicly or to leak to the marketplace that Long had provided them.

  Long often teased these transmissions as samples, with the obvious insinuation that more such

  material would be forthcoming if the recipient would reciprocate by making good on an

  opportunity for HughGM. See, e.g., Exhibit 14.

         46.      Upon information and belief, Long continued to use CAI Proprietary Materials to

  advance the interests of HughGM and to compete against CAI until at least the time of this

  action’s original filing in December 2014.

  E.     HughGM’s Other Principals Know of and Participate in the Scheme.

         47.      At least one other HughGM principal—Amburn—knew of, encouraged, and

  rewarded Long’s illicit activities. Specifically, Amburn knew that Long was misappropriating

  the Proprietary Materials from CAI and possibly other companies to advance the financial

  interests of HughGM (and thereby the financial interests of its principals).

         48.      Upon information and belief, the other two HughGM principals—Doug Brown

  and Allen Jafari—either knew of, or willfully turned a blind eye to, these illicit activities.

  F.     Long Uses CAI Equipment and Falsely Records Time to Carry Out His Scheme.

         49.      CAI did not and does not have a physical corporate office in or near Seattle. Per

  discussions between CAI and Long, Long was to work on-site that the Client facilities where

  CAI was hired to perform Commissioning Services, and from his home. Long’s duties would

  require him to travel around and outside of the Seattle area. Accordingly, CAI provided Long

  with the use of company laptop so that he could perform these duties.



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         50.    To streamline the above misappropriation of business opportunities and

  Proprietary Materials, Long ran his HughGM business from his CAI company laptop. He

  integrated his HughGM and CAI email accounts and calendars within the same Microsoft

  Outlook platform on his CAI laptop. This setup allowed Long to quickly and easily pass

  Proprietary Materials from his CAI emails and project folders through his HughGM email

  account to HughGM partners and prospective Clients.

         51.    Throughout his employment at CAI, Long submitted fraudulent expense reports

  and doctored travel invoices (often for travel that never actually transpired), which CAI

  reimbursed in full, until it learned of Long’s scheme in August 2014. In a signed writing, Long

  admitted to falsifying all expense reports since May 2014 and agreed to repay the related

  amounts in full, but has not done so. See Exhibit 15. Upon information and belief, Long

  submitted fraudulent expense reports throughout his employment at CAI, well before May 2014.

         52.    At several points during the course of his employment at CAI, CAI’s Clients and

  managers found Long’s performance to be unsatisfactory. These observations included opinions

  that: (A) Long was an inefficient worker; (B) he missed deadlines; (C) he took a very long time

  to complete even simple tasks; and (D) Clients found his due diligence and documentation for

  work performed to be lacking. CAI shared these observations with Long at every instance, and

  gave specific instruction to Long about how he could improve his performance.            Long’s

  deficiencies are directly attributable to his failure to spend CAI work time on CAI projects, his

  efforts to maintain or seek employment with other commissioning firms, and his practice of

  spending his CAI work time overwhelmingly on advancing the interests of HughGM.




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         53.     Because he was compensated on an hourly basis, Long was given the

  responsibility of carefully tracking and recording the hours he worked every day (his “Time”)

  and entering this information into a computer program.

         54.     Upon information and belief, Long regularly recorded false Time entries

  throughout his employment at CAI. Based on the above performance deficiencies and other

  recently discovered facts, it is possible that the great majority of this recorded Time was false.

  Long recorded eight to 10 (or more) hours per day, often including weekends, even while

  spending full days working on behalf of HughGM or Long’s other employers, and while on

  personal vacations far away from his CAI projects. CAI paid Long his hourly rate for these

  falsely billed hours until it learned of Long’s scheme upon his termination.

         55.     In at least one instance, on a project for a Fortune 100 Client in Dublin, Ireland,

  Long’s efforts to advance the interests of HughGM caused his CAI work to be so grossly

  deficient that it resulted in significantly more harm than benefit to CAI and its Client. His work

  not only provided no value, but it has since required CAI to invest ample funds and other

  resources to undo the damage he caused. Significantly, during and after his work on that project,

  Long surreptitiously led HughGM’s aggressive pursuit of several projects for the same Client.

  Upon information and belief, Long purposefully sought to damage CAI’s relationship with this

  Client in an attempt to cause that Client not to hire CAI on future projects, thereby increasing the

  likelihood that the Client would award those projects to HughGM.

         56.     CAI terminated Long on or about August 27, 2014, immediately after it learned of

  his practice of falsifying travel expenses, and memorialized this termination in a letter to Long

  (“Termination Letter”). See Exhibit 16.




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         57.       At multiple points after his termination, Long made false statements to CAI

  personnel in an attempt to induce them to convey to Long additional Proprietary Materials and to

  hide evidence of his wrongdoing. For example, Long asked for passwords and folders from his

  CAI computer, for the stated purpose of having access to personal resources such as bank

  accounts and credit cards, but which upon information and belief actually contained or provided

  access to CAI Proprietary Materials, and would allow Long to destroy evidence of the above

  pattern of misconduct.

                                               COUNT I

                                      Breach of Contract – Long

         58.       Paragraphs 1-57 are incorporated herein by reference.

         59.       The Employment Agreement is a valid and binding contract.

         60.       All conditions precedent relative to the contract claims have been performed or

  have occurred.

         61.       Long has breached this contract with CAI.

         62.       Long has breached this contract by, among other things, (A) using the Proprietary

  Materials for non-CAI purposes and to advance the interests of himself and of HughGM; (B)

  distributing the Proprietary Materials to non-CAI personnel; (C) using the Proprietary Materials

  outside of CAI’s premises; (D) using the Proprietary Materials after his termination; and (E)

  engaging in other conduct in violation of the Employment Agreement, including but not limited

  to the unlawful conduct as described in the paragraphs above.

         63.       CAI has suffered substantial pecuniary loss as a direct and proximate result of

  HughGM’s and Long’s misconduct.

         64.       CAI requests this Court to enter judgment in its favor and against Defendant Long

  for substantial damages suffered as a direct, proximate, foreseeable, and consequential result of

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  Long’s breach of contract, and to award CAI its damages established at trial, pre- and post-

  judgment interest, costs, attorney’s fees, punitive damages, an injunction, and all further relief

  this Court deems just and proper.

                                              COUNT II

                                 Breach of Fiduciary Duties – Long

         65.     Paragraphs 1-64 above are incorporated herein by reference.

         66.     As an employee of CAI, Long owed contractual and common law fiduciary duties

  to CAI, including the duties of loyalty, honesty, and good faith.

         67.     Long has breached these fiduciary duties by, among other things, knowingly and

  intentionally taking unlawful actions inconsistent with the best interests of CAI, including but

  not limited to the following knowing and intentional acts: (A) converting and stealing monies

  from CAI; (B) over-recording and falsifying Time entries and expense reports; (C) converting

  and stealing the Proprietary Materials from CAI; (D) disseminating the Proprietary Materials to

  the commissioning marketplace, thereby eroding the value of these materials and injuring CAI’s

  competitive advantages and market standing; (E) causing HughGM and other enterprises to

  compete directly and indirectly with CAI, and often using CAI Proprietary Materials to do so;

  (F) usurping CAI’s corporate opportunities by failing to disclose proper corporate opportunities

  to CAI (on which CAI had the desire and ability to capitalize and earn substantial revenue)

  and/or failing to obtain CAI’s consent to pursue such corporate opportunities as an individual or

  on behalf of HughGM; (G) failing to provide CAI with his best efforts (and failing to meet an

  absolute minimum standard of effort) as a wage-earning employee of CAI, and thereby depriving

  CAI of the value of the wages it paid and injuring CAI’s standing with its Clients and in the

  commissioning marketplace; (H) purposefully failing in his CAI work in an attempt to convince



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  Clients to hire HughGM instead of CAI for future projects; (I) lying to CAI about his other

  personal and business interests (such as his ownership, employment, and/or similar involvement

  with HughGM and many other companies) and/or failing to disclose same; (J) falsifying CAI

  letters of recommendation and his personal resume in an attempt to win business for HughGM

  and other non-CAI businesses; (K) submitting falsified expense reports and travel receipts; and

  (L) submitting false Time entries.

         68.     CAI has suffered substantial pecuniary loss as a direct and proximate result of

  HughGM’s and Long’s misconduct.

         69.     CAI requests this Court to enter judgment in its favor and against Defendant Long

  for substantial damages suffered as a direct, proximate, foreseeable, and consequential result of

  Long’s breach of fiduciary duties, and to award CAI its damages established at trial, pre- and

  post-judgment interest, costs, attorney’s fees, punitive damages, an injunction, and all further

  relief this Court deems just and proper.

                                                 COUNT III

                                             Actual Fraud – Long

         70.     Paragraphs 1-69 are incorporated herein by reference.

         71.     Long made repeated and constant material misrepresentations to CAI about past

  and present facts. He did so by taking actions including but not limited to the following: (A)

  failing to disclose and/or lying to CAI about his affiliations with other companies; (B) making

  fraudulent, material misrepresentations in his employment application on which CAI relied in

  hiring him; (C) lying to and/or misleading CAI about how he was spending his work time and

  why he had been unable to meet deadlines and performance goals; (D) failing to disclose and/or

  lying to CAI about what he was doing with the Proprietary Materials with which CAI had



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  entrusted him; (E) lying to and/or misleading CAI by indicating that he was working or had

  worked toward pursuing business for CAI, while instead pursuing or having pursued the same

  business exclusively on behalf of HughGM; (F) submitting falsified expense reports and travel

  receipts; and (G) submitting false Time entries.

         72.     Long made all of the above misrepresentations with full knowledge that they

  conveyed false and/or misleading information. Long intended to defraud and/or mislead CAI,

  for the purpose of advancing the interests of HughGM, receiving compensation for hours never

  worked, and receiving reimbursements for expenses never incurred.

         73.     CAI relied on these misrepresentations to its detriment. CAI relied on Long’s

  misrepresentations when it decided to hire him, to give him access to the Confidential

  Information, to allow him to continue working for CAI, to pay him wages for the Time he

  reported, and to reimburse the expenses that he purported to incur. CAI’s detriment included but

  was not limited to losing the value of the Proprietary Information (and losing the Proprietary

  Information itself), losing business opportunities that Long pursued in competition with CAI,

  losing the value of the work that Long said he was providing, and losing funds based on Long’s

  fraudulently reported Time and expenses.

         74.     CAI has suffered substantial pecuniary loss as a direct and proximate result of

  HughGM’s and Long’s misconduct.

         75.     Because Long’s misconduct amounts to criminal fraud, CAI is statutorily entitled

  to treble damages, attorney’s fees, and costs under Indiana Code (“I.C.”) § 34-24-3-1.

  Additionally, as Long’s misconduct was intentional and actual fraud, Plaintiffs are entitled to

  punitive damages.




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         76.     CAI requests this Court to enter judgment in favor of CAI and against Long for

  substantial damages suffered as a direct, proximate, foreseeable, and consequential result of

  Long’s fraud, and to award CAI its damages established at trial, pre- and post-judgment interest,

  treble damages, punitive damages, attorney’s fees and costs, and all further relief this Court

  deems just and proper.

                                                 COUNT IV

                                        Constructive Fraud – Long

         77.     Paragraphs 1-76 are incorporated herein by reference.

         78.     In the alternative, CAI states a claim for constructive fraud.

         79.     As stated above, Long owed to CAI fiduciary duties as an employee of CAI.

  Additionally or alternatively, Long had a special relationship with CAI, in that he had a fiduciary

  and/or confidential relationship with CAI by virtue of being a trusted employee of CAI,

  knowingly and explicitly undertaking the duty to maintain the confidentiality of CAI’s

  Proprietary Materials, and explicitly acknowledging the importance of that duty.

         80.     As stated above, Long made repeated and constant material misrepresentations to

  CAI about past and present facts, and further remained silent when his fiduciary duties

  compelled him to disclose relevant information to CAI.

         81.     As stated above, CAI relied on these misrepresentations to its detriment, and

  suffered injury as a direct and proximate result of these misrepresentations.

         82.     Long thereby gained the advantage of furthering his and HughGM’s business

  interests and by receiving fraudulently obtained cash payments, at the expense of CAI.

         83.     CAI has suffered substantial pecuniary loss as a direct and proximate result of

  HughGM’s and Long’s misconduct.



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         84.     Because Long’s misconduct amounts to criminal fraud, CAI is statutorily entitled

  to treble damages, attorney’s fees, and costs under I.C. § 34-24-3-1. Additionally, Plaintiffs are

  entitled to punitive damages.

         85.     CAI requests this Court to enter judgment in favor of CAI and against Long for

  substantial damages suffered as a direct, proximate, foreseeable, and consequential result of

  Long’s fraud, and to award CAI its damages established at trial, pre- and post-judgment interest,

  treble damages, punitive damages, attorney’s fees and costs, and all further relief this Court

  deems just and proper.

                                              COUNT V

            Tortious Interference with a Business Relationship – HughGM and Long

         86.     Paragraphs 1-85 are incorporated herein by reference.

         87.     HughGM and Long are and were aware of the existence of CAI’s current active

  and past business relationships, and current active and past contracts.

         88.     By pursuing business covered by those contracts and relationships, pursuing

  subsequent work with the Client counterparties to those contracts, intentionally performing

  grossly deficient work for CAI pursuant to those contracts, and making material and fraudulent

  misrepresentations and omissions to CAI about their actions, HughGM and Long have

  intentionally interfered with CAI’s business relationships with its Clients related to these

  contracts. Long’s illegal acts described in the Counts above and below were an integral and

  necessary part of this conduct.

         89.     HughGM and Long have no justification for this interference, especially because

  they learned about these relationships by virtue of Long’s employment with CAI, and interfered

  with these existing relationships using CAI Proprietary Materials. HughGM and Long knew that



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  they had no implicit or explicit authority from CAI to interfere with these relationships, and

  knew that their actions would cause harm to CAI.

         90.     CAI has suffered substantial pecuniary loss as a direct and proximate result of

  HughGM’s and Long’s misconduct. This loss includes, but is not limited to, tangible and

  intangible property loss or damage in the form of: (A) partial or complete lost use of and value in

  certain Proprietary Materials, and other CAI tangible and intangible property, that HughGM and

  Long publicly disseminated and/or otherwise corrupted; (B) injured or lost goodwill with

  existing or prospective Clients and industry partners; (C) damage to community and industry

  reputation; and (D) money spent to investigate and attempt to mitigate the damage of HughGM’s

  and Long’s misconduct.

         91.     CAI requests this Court to enter judgment in favor of CAI and against HughGM

  and Long, jointly and severally, for substantial damages suffered as a direct, proximate,

  foreseeable, and consequential result of HughGM’s and Long’s tortious conduct, and to award

  CAI its damages established at trial, pre- and post-judgment interest, costs, attorney’s fees,

  punitive damages, an injunction, and all further relief this Court deems just and proper.

                                             COUNT VI

                            Tortious Conversion – HughGM and Long

         92.     Paragraphs 1-91 above are incorporated herein by reference.

         93.     The Proprietary Materials are and always were property that belonged exclusively

  to CAI. They were generated and/or maintained by CAI exclusively for CAI business. Further,

  CAI’s standard employment agreement states that items such as the Proprietary Materials belong

  exclusively to CAI, and not to individual employees.




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            94.   HughGM and Long exerted unauthorized control over the Proprietary Materials

  by exercising dominion over them in defiance of CAI’s rights as their lawful possessor, and/or

  by using them well beyond the scope of Long’s employment with CAI to advance the interests of

  HughGM and Long, often to CAI’s detriment.

            95.   CAI has suffered substantial pecuniary loss as a direct and proximate result of

  HughGM’s and Long’s misconduct. This loss includes, but is not limited to, tangible and

  intangible property loss or damage in the form of: (A) partial or complete lost use of and value in

  certain Proprietary Materials, and other CAI tangible and intangible property, that HughGM and

  Long publicly disseminated and/or otherwise corrupted; (B) injured or lost goodwill with

  existing or prospective Clients and industry partners; (C) damage to community and industry

  reputation; and (D) money spent to investigate and attempt to mitigate the damage of HughGM’s

  and Long’s misconduct.

            96.   CAI requests this Court to enter judgment in favor of CAI and against HughGM

  and Long, jointly and severally, for substantial damages suffered as a direct, proximate,

  foreseeable, and consequential result of HughGM’s and Long’s tortious conduct, and to award

  CAI its damages established at trial, pre- and post-judgment interest, costs, attorney’s fees,

  punitive damages, an injunction, and all further relief this Court deems just and proper.

                                             COUNT VII

                            Criminal Conversion – HughGM and Long

            97.   Paragraphs 1-96 above are incorporated herein by reference.

            98.   The Proprietary Materials are and always were property that belonged exclusively

  to CAI.




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         99.      HughGM and Long knew that the Proprietary Materials belonged exclusively to

  CAI because they were generated and/or maintained by CAI exclusively for CAI business.

  HughGM and Long further knew that the Proprietary Materials belonged exclusively to CAI

  because CAI explicitly informed Long that this was so, via the “Confidential Information” clause

  of the Employment Agreement and other communications.             Long signed the Employment

  Agreement, thereby verifying that he understood the Proprietary Materials to be the exclusive

  property of CAI, and thereby acknowledging that any exertion of control over CAI property on

  his own behalf or on behalf of another entity (such as HughGM or MCC) was strictly

  unauthorized.

         100.     HughGM and Long therefore knowingly and intentionally exerted unauthorized

  control over CAI’s Proprietary Materials by using them well beyond the scope of Long’s

  employment with CAI, to advance the interests of HughGM and Long, often to CAI’s detriment.

  As discussed above, HughGM’s and Long’s conduct in this regard included using the Proprietary

  Materials with the knowledge and intent of stealing business opportunities from CAI, to compete

  with CAI, or to otherwise pursue HughGM’s economic interests.

         101.     Other principals of HughGM engaged in this conversion by soliciting,

  encouraging, rewarding, and otherwise participating in the exertion of unauthorized control over

  CAI property. They demonstrated through their words and actions that they knew and intended

  to exert such control, and that they knew that such control was unauthorized.

         102.     CAI has suffered substantial pecuniary loss as a direct and proximate result of

  HughGM’s and Long’s misconduct. This loss includes, but is not limited to, tangible and

  intangible property loss or damage in the form of: (A) partial or complete lost use of and value in

  certain Proprietary Materials, and other CAI tangible and intangible property, that HughGM and



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  Long publicly disseminated and/or otherwise corrupted; (B) injured or lost goodwill with

  existing or prospective Clients and industry partners; (C) damage to community and industry

  reputation; and (D) money spent to investigate and attempt to mitigate the damage of HughGM’s

  and Long’s misconduct.

         103.    Because HughGM’s and Long’s misconduct with respect to the Proprietary

  Materials amounts to criminal conversion of CAI’s property, CAI is statutorily entitled to treble

  damages, attorney’s fees, and costs under I.C. § 34-24-3-1.

         104.    Long further knowingly and intentionally exerted unauthorized control over CAI

  property by submitting false Time entries and expense reports. Long deliberately falsified these

  materials, and therefore knew and intended them to be false. Long knew that this practice was

  dishonest and not authorized by CAI. Long therefore knew and intended that as a result of his

  actions, he would exert unauthorized control over CAI funds, to which he had no property right.

         105.    CAI has suffered substantial pecuniary loss as a direct and proximate result of this

  unauthorized control and unauthorized use of its funds.

         106.    Because Long’s misconduct with respect to CAI funds amounts to criminal

  conversion of CAI’s property, CAI is statutorily entitled to treble damages, attorney’s fees, and

  costs under I.C. § 34-24-3-1.

         107.    CAI requests this Court to enter judgment in favor of CAI and against HughGM

  and Long, jointly and severally, for substantial damages suffered as a direct, proximate,

  foreseeable, and consequential result of HughGM’s and Long’s illegal conduct, and to award

  CAI its damages established at trial, pre- and post-judgment interest, costs, attorney’s fees, treble

  damages, punitive damages, an injunction, and all further relief this Court deems just and proper.




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                                             COUNT VIII

                                    Theft – HughGM and Long

         108.    Paragraphs 1-107 above are incorporated herein by reference.

         109.    By its knowing and intentional exertion of unauthorized control over the

  Proprietary Materials—for example, stripping the Proprietary Materials of their proprietary and

  confidential character by sharing them with the commissioning marketplace and with CAI

  competitors, and using the Proprietary Materials to pursue and win business for HughGM and

  not for CAI—HughGM and Long intended to deprive and did deprive CAI of part or all of the

  Proprietary Materials’ value and/or use.

         110.    CAI has suffered substantial pecuniary loss as a direct and proximate result of

  HughGM’s and Long’s misconduct. This loss includes, but is not limited to, tangible and

  intangible property loss or damage in the form of: (A) partial or complete lost use of and value in

  certain Proprietary Materials, and other CAI tangible and intangible property, that HughGM and

  Long publicly disseminated and/or otherwise corrupted; (B) injured or lost goodwill with

  existing or prospective Clients and industry partners; (C) damage to community and industry

  reputation; and (D) money spent to investigate and attempt to mitigate the damage of HughGM’s

  and Long’s misconduct.

         111.    Because HughGM’s and Long’s misconduct with respect to CAI Proprietary

  Materials amounts to criminal theft of CAI’s property, CAI is statutorily entitled to treble

  damages, attorney’s fees, and costs under I.C. § 34-24-3-1.

         112.    By his knowing and intentional exertion of unauthorized control over the CAI

  funds—i.e., by causing CAI to pay and by accepting funds based on documents and data that




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  Long knowingly and intentionally falsified—HughGM and Long intended to deprive and did

  deprive CAI of part or all of the value and/or use of those funds.

         113.    CAI has suffered substantial pecuniary loss as a direct and proximate result of this

  misconduct.

         114.    Because Long’s misconduct with respect to CAI funds amounts to criminal theft

  of CAI’s property, CAI is statutorily entitled to treble damages, attorney’s fees, and costs under

  I.C. § 34-24-3-1.

         115.    CAI requests this Court to enter judgment in favor of CAI and against HughGM

  and Long, jointly and severally, for substantial damages suffered as a direct, proximate,

  foreseeable, and consequential result of HughGM’s and Long’s illegal conduct, and to award

  CAI its damages established at trial, pre- and post-judgment interest, costs, attorney’s fees, treble

  damages, punitive damages, an injunction, and all further relief this Court deems just and proper.

                                              COUNT IX

                               Receiving Stolen Property – HughGM

         116.    Paragraphs 1-115 above are incorporated herein by reference.

         117.    In addition to committing the above actions of conversion and theft, and/or in the

  alternative, HughGM, through the actions of its principals, knowingly and intentionally received,

  retained, and/or disposed of CAI’s Proprietary Materials while knowing that the Proprietary

  Materials were subject to a theft.

         118.    HughGM and its principals demonstrated their knowledge that the Proprietary

  Materials were subject to a theft by soliciting, encouraging, rewarding, and participating in the

  exertion of unauthorized control over CAI property, and demonstrated through their words and




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  actions that they knew these materials were stolen and that they knew that they were receiving

  them and intended to receive them as such.

         119.    CAI has suffered substantial pecuniary loss as a direct and proximate result of

  HughGM’s and Long’s misconduct. This loss includes, but is not limited to, tangible and

  intangible property loss or damage in the form of: (A) partial or complete lost use of and value in

  certain Proprietary Materials, and other CAI tangible and intangible property, that HughGM and

  Long publicly disseminated and/or otherwise corrupted; (B) injured or lost goodwill with

  existing or prospective Clients and industry partners; (C) damage to community and industry

  reputation; and (D) money spent to investigate and attempt to mitigate the damage of HughGM’s

  and Long’s misconduct.

         120.    Because HughGM’s misconduct with respect to CAI Proprietary Materials

  amounts to criminal receiving stolen property, CAI is statutorily entitled to treble damages,

  attorney’s fees, and costs under I.C. § 34-24-3-1.

         121.    CAI requests this Court to enter judgment in favor of CAI and against HughGM

  for substantial damages suffered as a direct, proximate, foreseeable, and consequential result of

  HughGM’s illegal conduct, and to award CAI its damages established at trial, pre- and post-

  judgment interest, costs, attorney’s fees, treble damages, punitive damages, an injunction, and all

  further relief this Court deems just and proper.

                                               COUNT X

                    Misappropriation of Trade Secrets – HughGM and Long

         122.    Paragraphs 1-121 above are incorporated herein by reference.

         123.    Long and HughGM are both “persons” within the meaning of the Indiana

  Uniform Trade Secrets Act, I.C. § 24-2-3-2.



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         124.    Much of the Proprietary Materials constitute “trade secrets” within the meaning of

  the Indiana Uniform Trade Secrets Act, I.C. § 24-2-3-2. Materials including but not limited to

  Client lists, market research, proposals, bidding and quote systems, and logistics plans are “trade

  secrets” in that they derive actual or potential independent economic value from not being

  generally known to, and not being readily ascertainable by proper means by, other persons who

  can obtain economic value from its disclosure or use. CAI used efforts reasonable under the

  circumstances to maintain their secrecy.

         125.    Long gained access to these trade secrets solely by virtue of his employment with

  CAI.    CAI entrusted Long with these trade secrets, and made clear in the Employment

  Agreement that these were trade secrets and that Long must protect their secrecy. CAI never

  gave Long express or implied consent to use the trade secrets for any non-CAI purposes.

         126.    Long used improper means such as theft and misrepresentation (as described

  above and below) to acquire and misappropriate these trade secrets. Long disclosed the trade

  secrets to HughGM and other market participants—while fully disclosing to them in clear terms

  that these were misappropriated trade secrets—and used the trade secrets in his efforts to win

  business for HughGM. Prior to and at the time of this disclosure, HughGM knew that Long was

  an employee fiduciary of CAI, and that Long had a duty to maintain the secrecy of the trade

  secrets. Therefore, at the time of this disclosure and use, HughGM knew or had reason to know

  that its knowledge of the trade secret was: (A) derived from or through Long and that Long had

  utilized improper means to acquire it; (B) acquired under circumstances giving rise to Long’s

  duty to maintain its secrecy or limit its use; and/or (C) derived from or through Long, who owed

  a duty to CAI to maintain its secrecy or limit its use.




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         127.    Long’s and HughGM’s conduct in misappropriating and receiving the trade

  secrets was not only knowing and intentional, but also willful and malicious.

         128.    CAI has suffered substantial pecuniary loss as a direct and proximate result of

  HughGM’s and Long’s misconduct. This loss includes, but is not limited to, tangible and

  intangible property loss or damage in the form of: (A) partial or complete lost use of and value in

  certain Proprietary Materials, and other CAI tangible and intangible property, that HughGM and

  Long publicly disseminated and/or otherwise corrupted; (B) injured or lost goodwill with

  existing or prospective Clients and industry partners; (C) damage to community and industry

  reputation; and (D) money spent to investigate and attempt to mitigate the damage of HughGM’s

  and Long’s misconduct.

         129.    Under I.C. § 24-2-3-3, CAI is entitled to an order from the Court enjoining

  Long’s and HughGM’s use of the trade secrets.

         130.    Under I.C. § 24-2-3-4, CAI is further entitled to recover monetary damages for its

  loss, for Long and HughGM’s unjust enrichment, and/or for royalty. Additionally, CAI is

  entitled to double damages (“exemplary damages”).

         131.    CAI requests this Court to enter judgment in favor of CAI and against HughGM

  and Long, jointly and severally, for substantial damages suffered as a direct, proximate,

  foreseeable, and consequential result of HughGM’s and Long’s illegal conduct, and to award

  CAI damages established at trial, pre- and post-judgment interest, costs, attorney’s fees, double

  damages, punitive damages, an injunction, and all further relief this Court deems just and proper.




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                                             COUNT XI

          Violation of Indiana’s Corrupt Business Influence Act – HughGM and Long

         132.     Paragraphs 1-131 above are incorporated herein by reference.

         133.     HughGM is an “enterprise” within the meaning of I.C. § 35-45-6-1, that Long

  operated through a pattern of racketeering activity.

         134.     Long engaged in a pattern of racketeering activity, as defined by I.C. § 35-45-6-1,

  by committing (through the conduct described above and below) at least two acts of fraud, theft,

  and/or conversion in violation of I.C. § 35-43-4-2, -4-3, & -5-4.

         135.     Long and HughGM directly and/or indirectly received income from the above

  pattern of racketeering activity by, among other things, using illicitly obtained CAI Proprietary

  Materials to: (A) win business, projects, clients, referrals, and the like for HughGM; (B) raise

  HughGM’s and Long’s profile in the commissioning industry, or otherwise attract the attention

  of or demonstrate purported competence to potential customers; and/or (C) fulfill existing and/or

  later-acquired contracts and business. (One example of this is, as described above, HughGM’s

  use of CAI Proprietary Materials to bid on and win a large and lucrative project from a Fortune

  100 Client that would have been ideal business for CAI.) Long and HughGM used part or all of

  that same income and/or its proceeds in the operation of HughGM. This is a violation of I.C. §

  35-45-6-2(1).

         136.     Long further used that same income and/or its proceeds to acquire an interest in

  HughGM. Long made one or more capital contributions in HughGM, enabled in part by income

  derived directly or indirectly from the conduct described in the preceding paragraph, and/or by

  stealing or otherwise fraudulently obtaining funds from CAI through actions such as falsifying

  time entries and expenses. Long and HughGM may have also defrauded certain HughGM



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  members and/or investors of their capital contributions and/or interests in HughGM, or otherwise

  fraudulently misled other HughGM members about their respective interests in HughGM. These

  are also violations of I.C. § 35-45-6-2(1).

         137.    Long participated in and conducted HughGM’s affairs, directly and indirectly,

  through the above pattern of racketeering activity. This is a violation of I.C. § 35-45-6-2(3).

         138.    The above pattern of racketeering activity (A) was related to and/or committed

  within the course of Long’s employment at and management of HughGM, (B) was committed in

  furtherance of HughGM and its interests, and (C) was authorized or subsequently acquiesced in

  by HughGM. HughGM was not a mere unwitting conduit of the above pattern racketeering

  activity; HughGM’s upper echelons were directly involved in it, were aware of it, and/or

  acquiesced in it. This is evident from the conduct Long, a HughGM principal, and Amburn, a

  HughGM principal and co-founder, described above.

         139.    As described in detail in the Counts above, Long committed fraud, conversion,

  and theft, pursuant to and as part of his participation in and his conducting of HughGM’s affairs.

  He did/does so by knowingly and intentionally making false and material representations of past

  or existing facts to CAI (on which CAI relied to its detriment), by exerting unauthorized control

  over the property of CAI with the intent to deprive CAI of its value and/or use, and by

  knowingly and intentionally receiving and using CAI’s property while knowing that the

  Proprietary Materials were subject to a theft. Accordingly, the above acts were necessary to

  execute Long’s scheme on behalf of HughGM.

         140.    As described in detail in the Counts above, Long committed multiple overt acts in

  furtherance of this fraud, theft, and/or conversion, including but not limited to the following: (A)

  lying to or misleading CAI about his affiliations with HughGM and other companies; (B)



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  stealing Proprietary Materials on behalf of HughGM, transferring them to HughGM, and using

  them for HughGM business; (C) lying to or misleading CAI about his work and his need for

  Proprietary Materials to perform that work, thereby inducing CAI to transmit to him Proprietary

  Materials that he would transmit to HughGM for use for HughGM business; (D) submitting false

  time entries and lying to CAI about his work and progress on CAI projects, thereby allowing him

  to maintain employment with CAI despite spending most of his CAI work time working on

  behalf of HughGM; and (E) transmitting CAI Proprietary Materials to Clients while falsely and

  fraudulently representing that the materials belonged to and were created by HughGM.

          141.    These acts share a relationship sufficient to establish racketeering activity because

  they were carried out by the same participants (Long), for the same purposes (to defraud CAI

  and its Clients for the benefit of Long and HughGM), and had the same results to the same

  victim (CAI lost funds rightfully belonging to it, lost business and business opportunities, and

  lost the value of its Proprietary Materials).

          142.    These acts share continuity sufficient to establish racketeering activity because

  they constitute a lengthy period of repeated conduct. HughGM has existed since 2006. Long

  (with HughGM agents such as Amburn and Robert Evans) began his pattern of racketeering

  activity that victimized CAI no later than (and likely earlier than) October 2012. See Exhibit 17

  (“[T]alked with some guys at Commissioning Agents, Inc . . . . Did not disclose us, what we do,

  etc.”; “CAI is a large commissioning[-]only firm . . . . I have listed you as a reference . . . . I have

  not mentioned that we are partners in MCC.”). Upon information and belief, Long’s pattern of

  racketeering behavior with and on behalf of HughGM began well before then. CAI presently has

  access only to limited evidence from a window of October 2012 to August 2014, but reasonably

  believes that discovery will reveal evidence sufficient to show that this pattern of racketeering



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  began even earlier than October 2012, lasted beyond August 2014, and likely is still ongoing and

  will continue into the future.

         143.    Additionally or alternatively, these acts share continuity sufficient to establish

  racketeering activity because they constitute a distinct threat of continued racketeering activity

  projected into the future. Long and HughGM still have CAI’s Proprietary Materials, and have

  shown through their actions that they are likely to continue to improperly use the Proprietary

  Materials in the future to advance HughGM’s business, and to defraud CAI’s Clients in doing so.

  Although HughGM appears to conduct a legitimate business of providing Commissioning

  Services, the above illicit acts constitute its regular way of operating that business. Upon

  information and belief, HughGM’s principals operated the company by stealing from and

  defrauding its principals’ employers (as Long did to CAI), and using the Proprietary Materials

  improperly gained from those employers to win business for HughGM.

         144.    CAI has suffered substantial pecuniary loss as a direct and proximate result of

  HughGM’s and Long’s misconduct. This loss includes, but is not limited to, tangible and

  intangible property loss or damage in the form of: (A) partial or complete lost use of and value in

  certain Proprietary Materials, and other CAI tangible and intangible property, that HughGM and

  Long publicly disseminated and/or otherwise corrupted; (B) injured or lost goodwill with

  existing or prospective Clients and industry partners; (C) damage to community and industry

  reputation; and (D) money spent to investigate and attempt to mitigate the damage of HughGM’s

  and Long’s misconduct.

         145.    CAI is entitled to recovery of treble damages, costs, and attorney’s fees pursuant

  to I.C. § 34-24-3-1.




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         146.     CAI is also entitled to injunctive relief pursuant to I.C. § 34-24-2-6 in the form of

  an order freezing Long’s and/or HughGM’s accounts insofar as they hold substantial funds

  belonging to CAI, and enjoining Long and HughGM from using CAI Proprietary Materials and

  requiring that Long and HughGM return those materials to CAI.

         147.     CAI requests this Court to enter judgment in favor of CAI and against Long for

  substantial damages suffered as a direct, proximate, foreseeable, and consequential result of

  Long’s systematic, continuous, and willful illegal conduct, to issue an order freezing Long’s

  bank accounts insofar as they hold CAI’s property in substantial cash amounts, and to award CAI

  its damages established at trial, pre- and post-judgment interest, costs, attorney’s fees, treble

  damages, punitive damages, an injunction, and all further relief this Court deems just and proper.

                                             COUNT XII

        Violation of the Federal Racketeer Influenced and Corrupt Organizations Act –
                                     HughGM and Long

         148.     Paragraphs 1-147 above are incorporated herein by reference.

         149.     HughGM is an “enterprise” within the meaning of 18 U.S.C. § 1961(4), that Long

  operated through a pattern of racketeering activity.

         150.     HughGM is engaged in and its activities affect interstate commerce.

         151.     Long is a “person” within the meaning of 18 U.S.C. § 1961(3) who owns, is

  employed by, or is associated with HughGM, the enterprise.

         152.     Long engaged in and conspired to engage in a pattern of racketeering activity, as

  defined by 18 U.S.C. § 1961(1) and (5), by committing (through the conduct described above

  and below) at least two acts of mail and wire fraud in violation of 18 U.S.C. §§ 1341 and 1343,

  respectively.




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         153.    Long and HughGM directly and/or indirectly received income from the above

  pattern of racketeering activity by, among other things, using illicitly obtained CAI Proprietary

  Materials to: (A) win business, projects, clients, referrals, and the like for HughGM; (B) raise

  HughGM’s and Long’s profile in the commissioning industry, or otherwise attract the attention

  of or demonstrate purported competence to potential customers; and/or (C) fulfill existing and/or

  later-acquired contracts and business. (One example of this is, as described above, HughGM’s

  use of CAI Proprietary Materials to bid on and win a large and lucrative project from a Fortune

  100 Client that would have been ideal business for CAI.) Long and HughGM used part or all of

  that same income and/or its proceeds in the operation of HughGM. This is a violation of Section

  1962(a).

         154.    Long further used that same income and/or its proceeds to acquire an interest in

  HughGM. Long made one or more capital contributions in HughGM, enabled in part by income

  derived directly or indirectly from the conduct described in the preceding paragraph, and/or by

  stealing or otherwise fraudulently obtaining funds from CAI through actions such as falsifying

  time entries and expenses. Long and HughGM may have also defrauded certain HughGM

  members and/or investors of their capital contributions and/or interests in HughGM, or otherwise

  fraudulently misled other HughGM members about their respective interests in HughGM. These

  are also violations of Section 1962(a).

         155.    Long participated in and conducted HughGM’s affairs, directly and indirectly,

  through the above pattern of racketeering activity. This is a violation of Section 1962(c).

         156.    Long and HughGM knowingly, intentionally, and willfully conspired with one

  another and with others to violate the provisions of Sections 1962(a) and (c), as described above.

  This is a violation of Section 1962(d).



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         157.    The above pattern of racketeering activity (A) was related to and/or committed

  within the course of Long’s employment at and management of HughGM, (B) was committed in

  furtherance of HughGM and its interests, and (C) was authorized or subsequently acquiesced in

  by HughGM. HughGM was not a mere unwitting conduit of the above pattern racketeering

  activity; HughGM’s upper echelons were directly involved in it, were aware of it, and/or

  acquiesced in it. This is evident from the conduct Long, a HughGM principal, and Amburn, a

  HughGM principal and co-founder, described above.

         158.    Long carried out a scheme to defraud CAI and its Clients by knowingly and

  intentionally using the wires (email transmissions) and/or the United States Mail to commit a

  series of multiple and repeated overt acts, including but not limited to the following: (A) lying to

  or misleading CAI about his affiliations with HughGM and other companies; (B) lying to or

  misleading CAI about his work and his need for Proprietary Materials to perform that work, and

  thereby inducing CAI to transmit to him Proprietary Materials that he would transmit to

  HughGM for use in HughGM business; (C) submitting false time entries and lying to CAI about

  his work and progress on CAI projects, thereby allowing him to maintain employment with CAI

  despite spending most of his CAI work time working on behalf of HughGM; and (D)

  transmitting CAI Proprietary Materials to Clients while falsely and fraudulently claiming that the

  materials belonged to and were created by HughGM.

         159.    The above acts were necessary to execute Long’s scheme on behalf of HughGM.

  CAI would not have hired, retained, or shared Proprietary Materials with Long if Long did not

  lie about his involvement with HughGM, about the real reasons behind his requests for

  Proprietary Materials, and about what he was doing with his work time. HughGM’s current and

  prospective clients would not have considered a business relationship with HughGM if Long did



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  not lie about who owned and created the materials that he transmitted to them in his attempt to

  win their business.

         160.    For the reasons described in the preceding Count, these acts share a relationship

  and continuity sufficient to establish racketeering activity.

         161.    CAI has suffered substantial pecuniary loss as a direct and proximate result of

  HughGM’s and Long’s misconduct. This loss includes, but is not limited to, tangible and

  intangible property loss or damage in the form of: (A) partial or complete lost use of and value in

  certain Proprietary Materials, and other CAI tangible and intangible property, that HughGM and

  Long publicly disseminated and/or otherwise corrupted; (B) injured or lost goodwill with

  existing or prospective Clients and industry partners; (C) damage to community and industry

  reputation; and (D) money spent to investigate and attempt to mitigate the damage of HughGM’s

  and Long’s misconduct.

         162.    CAI is entitled to recovery of treble damages, costs, and attorney’s fees pursuant

  to 18 U.S.C. 1964(c).

         163.    CAI is also entitled to injunctive relief pursuant to Federal Rule of Civil

  Procedure 64, 18 U.S.C. 1964(c), and I.C. § 34-24-2-6, in the form of an order freezing Long’s

  and/or HughGM’s accounts insofar as they hold substantial funds belonging to CAI. CAI is

  further entitled to injunctive relief pursuant to 18 U.S.C. 1964(a) via an order from the Court

  enjoining Long and HughGM from using CAI Proprietary Materials and requiring that Long and

  HughGM return those materials to CAI.

         164.    CAI requests this Court to enter judgment in its favor and against Long for

  substantial damages suffered as a direct, proximate, foreseeable, and consequential result of

  Long’s systematic, continuous, and willful illegal conduct, to issue an order freezing Long’s



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  bank accounts insofar as they hold CAI’s property in substantial cash amounts, and to award CAI

  its damages established at trial, pre- and post-judgment interest, costs, attorney’s fees, treble

  damages, punitive damages, an injunction, and all further relief this Court deems just and proper.

                                            COUNT XIII

                             Unjust Enrichment – HughGM and Long

         165.    Paragraphs 1-164 above are incorporated herein by reference.

         166.    In the alternative, CAI states a claim for unjust enrichment.

         167.    By providing Long (A) access to the Proprietary Materials, (B) an hourly wage,

  and (C) reimbursement of work-related expenses, CAI conveyed to Long a benefit (the

  “Benefit”).

         168.    Long accepted the Benefit by explicitly or impliedly consenting to receive it.

         169.    CAI received effectively no value in return for conveying the Benefit to Long.

  CAI expected to receive Long’s professional services in exchange for the Benefit, and conveyed

  the Benefit to allow Long to provide those professional services. Upon information and belief,

  Long performed far less work than he claimed and for which he was paid during his employment

  at CAI. Long also produced very little work product that could be used in CAI projects, which

  often left CAI unable to charge its Clients for Long’s work. Long therefore provided very little

  in the way of professional services or any other return benefit to CAI.

         170.    Due to Long’s and HughGM’s actions to conceal their activities, CAI also

  conveyed this benefit to HughGM without knowing it was doing so.

         171.    HughGM and Long have enriched themselves by virtue of receiving and using the

  Benefit.




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         172.    HughGM and Long continue to exert control over the value of the Benefit and

  refuse to return it to CAI.

         173.    HughGM and Long also use and have used a falsified CAI letter of

  recommendation to advance their business interests.

         174.    HughGM and Long have been unjustly enriched, to the detriment of CAI.

         175.    CAI has suffered substantial pecuniary loss as a direct and proximate result of

  HughGM’s and Long’s misconduct. This loss includes, but is not limited to, tangible and

  intangible property loss or damage in the form of: (A) partial or complete lost use of and value in

  certain Proprietary Materials, and other CAI tangible and intangible property, that HughGM and

  Long publicly disseminated and/or otherwise corrupted; (B) injured or lost goodwill with

  existing or prospective Clients and industry partners; (C) damage to community and industry

  reputation; and (D) money spent to investigate and attempt to mitigate the damage of HughGM’s

  and Long’s misconduct.

         176.    CAI is entitled to an award of damages.

         177.    CAI requests this Court to enter judgment in its favor and against HughGM and

  Long, jointly and severally, for substantial damages suffered as a direct, proximate, foreseeable,

  and consequential result of HughGM’s and Long’s misconduct, and to award CAI its damages

  established at trial, pre- and post-judgment interest, costs, attorney’s fees, punitive and

  exemplary damages, an injunction, and all further relief this Court deems just and proper.

                                              COUNT XIV

                  Request for Injunctive and Other Relief – HughGM and Long

         178.    Paragraphs 1-177 above are incorporated by reference.

         179.    Long’s conduct violates his legal and contractual duties to CAI. HughGM’s

  conduct violates its legal duties to CAI.
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         180.    CAI has suffered and will continue to suffer immediate and irreparable harm if

  HughGM and Long are not preliminarily and permanently enjoined from using the Proprietary

  Materials. Specifically, unless the Proprietary Materials are immediately restrained, HughGM

  and Long may further use and devalue CAI’s Proprietary Materials and CAI’s Client

  relationships, and may transfer funds that HughGM earned by using the Proprietary Materials

  from their accounts into further separate accounts that are not controlled or accessible by CAI.

         181.    CAI has suffered and will continue to suffer immediate and irreparable harm

  (based on the funds that Long stole from CAI) if HughGM and Long are not preliminarily and

  permanently enjoined from using Long’s personal funds and accounts or such funds as Long may

  have subsequently transferred to HughGM. Specifically, unless these funds and accounts are

  immediately restrained, HughGM and Long may transfer these funds from their accounts into

  further separate accounts that are not controlled or accessible by CAI.

         182.    CAI has suffered and will continue to suffer immediate and irreparable harm if

  HughGM and Long are not preliminarily and permanently enjoined from using falsified CAI

  materials (such as fraudulent CAI letters of recommendation) or other representations about

  affiliations with CAI to advance their interests. Such conduct diminishes CAI’s standing the

  marketplace for Commissioning Services, and allows Long and HughGM to unjustly benefit

  from false purported associations or affiliations with CAI.

         183.    CAI will suffer immediate harm if relief is denied. By contrast, no cognizable

  legal harm will accrue to HughGM or Long from the requested preliminary and permanent

  injunction because they do not have any legal right to the Proprietary Materials or the funds

  improperly paid.




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         184.    Injunctive relief is appropriate because protection and maintenance of CAI’s

  legitimate interests is a vital and legitimate business concern. Further, HughGM’s and Long’s

  actual or inevitable use or disbursement of CAI’s property for their economic purposes or

  benefits will cause irreparable harm to CAI. Injunctive relief also is warranted pursuant to I.C. §

  34-24-2-6, Federal Rule of Civil Procedure 64, and 18 U.S.C. 1964(c).

         185.    The public interest will not be harmed—and instead will be benefited—if an

  injunction is granted.

         186.    In this case, security is not necessary because HughGM and Long have obtained

  CAI’s property by criminal means, but to the extent the Court requires security, CAI is willing to

  post sufficient security to cover any costs or damages that might accrue to HughGM or Long if it

  later is determined that a preliminary injunction was wrongfully entered. However, no harm can

  result to HughGM or Long because their actions were in violation of statutory, legal, and/or

  contractual obligations to CAI, and were all without legal basis.

         187.    The Court should grant CAI’s request for a preliminary injunction and enter an

  order precluding HughGM and Long from further controlling said Proprietary Materials and

  funds by ordering a freeze of their respective bank accounts insofar as they hold CAI’s property,

  enjoining HughGM and Long from further disseminating or otherwise using the Proprietary

  Materials, and compelling HughGM and Long to return the funds and Proprietary Materials.

                                           JURY DEMAND

         Plaintiff demands a trial by jury as to all issues so triable.




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  Dated:      February 12, 2015             Respectfully Submitted,

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                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on the 12th day of February, 2015, a true and

  complete copy of the foregoing was filed electronically using the Court’s CM/ECF system, and

  served upon all counsel and/or parties of record via same.




                                               /s/ Christopher Bayh
                                               Christopher J. Bayh




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